Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 1 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 2 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 3 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 4 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 5 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 6 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 7 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 8 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 9 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 10 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 11 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 12 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 13 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 14 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 15 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 16 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 17 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 18 of 19
Case 4:08-cv-04481-SBA Document 1 Filed 09/24/08 Page 19 of 19
